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IN THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF OKLAHOMA

a/k/a “@Abu_Omir,”

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
-VS- ) No. CR-24-467-SLP
)
NASIR AHMAD TAWHEDI, )
a/k/a Nasir Ahmad Azizi, )
)
)
)

Defendant.

WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by
imprisonment for more than one year. I was advised in open court of my rights and the
nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and

consent to prosecution by information.

Date: _J+-e 9 aoasT
Defendant's signature

Signature of defendant’s attorney

bx, 4. Hoe AS

Printed name ) efendant’s attorney

